Case 4:18-cr-00171-JEG-CFB Document 26 Filed 10/10/18 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

CENTRAL DIVISION
UNITED STATES OF AMERICA,
Criminal No. 4:18-cr-171
Plaintiff,
VS.
DEFENDANT’S MOTION TO SUPPRESS
VINCENT MITCHELL BALLARD,
Defendant.

COMES NOW, Defendant, VINCENT MITCHELL BALLARD, by and through
his attorney, F. Montgomery Brown, of the F.M. Brown Law Firm, P.L.L.C. and
respectfully moves this Court to suppress all physical evidence and statements by
Defendant arising out of warrantless entry and search of his home on July 24, 2018 in
violation of the Fourth Amendment, and in support thereof states:

1. Defendant is charged by Indictment with Possession with Intent to Distribute

Methamphetamine on July 24, 2018.

2, On July 24, 2018, the Des Moines Police Department had knowledge that there
was an active arrest warrant for Defendant’s arrest for the state charge of Driving

While Barred, an aggravated misdemeanor under state law.

3, Surveillance was conducted on Defendant’s residence at 2005 27" Street, Des

Moines, Iowa on July 24, 2018 by one or more officers and a “pole camera”.

4. On July 24, 2018 a team of DMPD raced to Defendant’s residence as he was
observed in the company of others on his front stoop.

5. As the team began to arrive in separate cars, Defendant retreated into his home.
Case 4:18-cr-00171-JEG-CFB Document 26 Filed 10/10/18 Page 2 of 3

10.

The front door was physically locked and breached by force.

The DMPD did not possess a warrant to enter much less search the home.
During the course of allegedly searching for Defendant in the home, an officer
looked under a bed in the basement and purportedly saw methamphetamine in a
baggie under the bed. As the slot between bed and floor was quite narrow, no
adult male could hide under the bed.

Defendant was later found in the basement hiding behind a bar.

Defendant contends that the entry and search of his residence to effectuate a
misdemeanor arrest and subsequent discovery of alleged incriminating evidence
and interview of Defendant inside his home occurred in violation of his Fourth
amendment rights.

MEMORANDUM OF LAW

The Supreme Court has held in Payton v New York, 445 U.S. 573(1980) that the Fourth

Amendment prohibits the police from making a warrantless and nonconsensual entry into a

suspect’s home in order to make a routine felony arrest. See also Steagald v. United States, 451

U.S. 204 (1981). While the DMPD may claim “hot pursuit”, See United States v. Santana, 427

U.S. 38, 42 (1976), the objective of the arrest was to arrest Defendant for Driving While Barred

and as such there was not sufficient cause to believe Defendant could destroy evidence relating to

the purpose of that arrest. Welsh v Wisconsin, 466 U.S. 740 (1984). The indirect fruits of the

unreasonable and unlawful entry and search of Defendant’s residence should be suppressed

because they bear sufficiently close relationship to the underlying illegality. Wong Son v. United

States, 371 U.S. 471 (1963).
Case 4:18-cr-00171-JEG-CFB Document 26 Filed 10/10/18 Page 3 of 3

WHEREFORE, Defendant respectfully prays this Court, following evidentiary hearing,

suppress all physical evidence and statements made by n July 24, 2018. La
é Le LE ta.

SF. {comers Brom
MERY BROWN AT0001209

F.M. BROWN LAW FIRM, P.L.L.C.
1001 Office Park Road, Suite 108
West Des Moines, lowa 50265
Telephone: (515) 225-0101
Facsimile: (515) 225-3737
Hskrfan@fmbrownlaw.com
ATTORNEY FOR DEFENDANT

  
 

Original Filed.

IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
IOWA-CENTRAL DIVISION

CERTIFICATE OF SERVICE

I hereby certify that on the 10th Day of October, 2018, I electronically filed the foregoing with
the Clerk of Court using the ECF system which will send notification of such filing to the
following:

Copies to:

Kristin M. Herrera

Assistant United States Attorney
110 East Court Avenue, Suite 286
Des Moines, Iowa 50309

kristin. herrera@usdoj.gov
